Case 2:25-cv-02993-SPG-SSC       Document 1   Filed 04/06/25   Page 1 of 17 Page ID
                                       #:1

  1   Stacy Tolchin (CA SBN #217431)
      Email: Stacy@Tolchinimmigration.com
  2   Law Offices of Stacy Tolchin
      776 E. Green St., Suite 210
  3   Pasadena, CA 91101
      Telephone: (213) 622-7450
  4   Facsimile: (213) 622-7233

  5   Khaled Alrabe (CA SBN #349899)
      Email: khaled@nipnlg.org
  6   National Immigration Project of the
       National Lawyers Guild (NIPNLG)
  7   1763 Columbia Road NW, Suite 175 #896645,
      Washington, DC 20009
  8   Telephone: (202) 470-2082
      Facsimile: (617) 227-5495
  9
      Counsel for Plaintiff
10    (continued on next page)

11                UNITED STATES DISTRICT COURT FOR THE
                    CENTRAL DISTRICT OF CALIFORNIA
12
      STUDENT DOE #2,
13
            Plaintiff,
14                                                    Case No ._____________
                    v.
15
      KRISTI NOEM, in her official
16    capacity as Secretary of Homeland
      Security; the DEPARTMENT OF
17    HOMELAND SECURITY; and
      TODD LYONS, in his official
18    capacity as Acting Director of U.S.
      Immigration and Customs
19    Enforcement,

20    Defendants.
21

22
Case 2:25-cv-02993-SPG-SSC   Document 1   Filed 04/06/25   Page 2 of 17 Page ID
                                   #:2


  1   Anne Lai (CA SBN #295394)
      Email: alai@law.uci.edu
  2   UC Irvine School of Law
      401 E. Peltason Dr.
  3   Irvine, CA 92697-8000
      Telephone: (949) 824-9894
  4   Facsimile: (949) 824-2747

  5

  6

  7

  8

  9

 10

 11

 12

 13

 14

 15

 16

 17

 18

 19

 20

 21

 22
Case 2:25-cv-02993-SPG-SSC     Document 1     Filed 04/06/25   Page 3 of 17 Page ID
                                     #:3


  1                                   INTRODUCTION

  2         1.     Plaintiff Student Doe # 2 is a full-time international student in lawful

  3   F-1 status, enrolled at a college in Orange County, California. They are one of

  4   hundreds, if not more, F-1 students nationwide whose SEVIS record has been

  5   abruptly and unlawfully terminated by U.S. Immigration and Customs

  6   Enforcement (ICE) last week, effectively stripping them of their ability to remain a

  7   student in the United States.

  8         2.     The Student and Exchange Visitor Information Systems (SEVIS) is a

  9   government database that tracks international students’ compliance with their F-1

 10   status. ICE, through the Student and Exchange Visitor Program (SEVP), uses

 11   SEVIS to monitor student status. Following the revocation of their visa, SEVP

 12   terminated Plaintiff’s SEVIS record and marked Plaintiff as “Otherwise Failing to

 13   Maintain Status” with a narrative citing deportability provisions under INA §

 14   237(a)(1)(C)(i) [8 U.S.C. § 1227(a)(1)(C)] (failure to maintain status) and INA

 15   237(a)(4)(C)(i) [8 U.S.C. § 1227(a)(4)(C)(i)] (foreign policy ground).

 16         3.     The termination of a SEVIS record effectively ends F-1 student status.

 17   Even when a visa is revoked, however, ICE is not authorized to terminate

 18   Plaintiff’s student status. The grounds cited by ICE in the SEVIS termination do

 19   not provide legal authority to terminate Plaintiff’s SEVIS record. An F-1 visa

 20   controls a student’s entry into the country, not their continued lawful presence once

 21   admitted. Plaintiff was in full compliance with the terms of their F-1 status and

 22                                             1
Case 2:25-cv-02993-SPG-SSC     Document 1     Filed 04/06/25    Page 4 of 17 Page ID
                                     #:4


  1   had not engaged in any conduct that would warrant termination of their status.

  2         4.     Rather, DHS’s policy of unlawfully terminating SEVIS records based

  3   on visa revocations appears to be designed to coerce students, including Plaintiff,

  4   into abandoning their studies and “self-deporting” despite not violating their status.

  5   If ICE believes a student is deportable for having a revoked visa, it has the

  6   authority to initiate removal proceedings and make its case in court. It cannot,

  7   however, misuse SEVIS to circumvent the law, strip students of status, and drive

  8   them out of the country without process.

  9         5.     Over the past week, visa revocations and SEVIS terminations have

 10   shaken campuses across the country and California, including those in the

 11   University of California system and Stanford University.1 On information and

 12   belief, this policy appears to be primarily targeting African, Arab, Middle Eastern,

 13   Muslim, and Asian students. The SEVIS terminations have taken place against the

 14

 15   1
        See Binkley, Collin, Annie Ma, and Makiya Seminera, Federal officials are
      quietly terminating the legal residency of some international college students,
 16   Associated Press, April 4, 2025, https://apnews.com/article/college-international-
      student-f1-visa-ice-trump-7a1d186c06a5fdb2f64506dcf208105a; Kaleem, Jaweed,
 17   Trump administration cancels dozens of international student visas at University of
      California, Stanford, Los Angeles Times, April 5, 2025,
 18   https://www.latimes.com/california/story/2025-04-05/trump-administration-
      cancels-international-student-visas-university-of-california-stanford;
 19

 20

 21

 22                                              2
Case 2:25-cv-02993-SPG-SSC      Document 1     Filed 04/06/25    Page 5 of 17 Page ID
                                      #:5


  1   backdrop of numerous demands being made of universities by the federal

  2   government and threats of cutting off billions of dollars in federal funding. They

  3   have created chaos as schools have attempted to understand what is happening and

  4   do their best to inform and advise students.

  5         6.     Plaintiff does not challenge the revocation of their visa in this action.

  6   Rather, Plaintiff brings this action under the Administrative Procedure Act (APA),

  7   the Fifth Amendment to the U.S. Constitution, and the Declaratory Judgment Act

  8   to challenge ICE’s illegal termination of their SEVIS record.

  9                             JURISDICTION AND VENUE

 10         7.     This Court has jurisdiction over the present action based on 28 U.S.C.

 11   § 1331 (federal question), 28 U.S.C. § 1346(b) (federal defendant), and 28 U.S.C.

 12   § 2201-2 (authority to issue declaratory judgment when jurisdiction already exists).

 13         8.     Venue is properly with this Court pursuant to 28 U.S.C. § 1391(e)

 14   because this is a civil action in which Defendants are employees or officers of the

 15   United States, acting in their official capacity; and because Plaintiff resides in the

 16   Inland Empire, which is located within the Central District of California, and there

 17   is no real property involved in this action.

 18                                         PARTIES

 19         9.     Student Doe #2 is an international student who is enrolled in a college

 20   in Orange County and resides in Los Angeles. Student Doe #2 seeks to proceed in

 21   this action with a pseudonym due to fear of retaliation by Defendants for asserting

 22                                              3
Case 2:25-cv-02993-SPG-SSC       Document 1     Filed 04/06/25   Page 6 of 17 Page ID
                                       #:6


  1   their rights through this lawsuit, and of harassment or blacklisting by third parties.2

  2            10.   Defendant U.S. Department of Homeland Security (“DHS”) is a

  3   cabinet-level department of the Executive Branch of the federal government and is

  4   an “agency” within the meaning of 5 U.S.C. § 551(1). DHS includes various

  5   component agencies, including U.S. Immigration Customs and Enforcement

  6   (“ICE”).

  7            11.   Defendant Kristi Noem is the Secretary of Homeland Security and has

  8   ultimate authority over DHS. In that capacity and through her agents, Defendant

  9   Noem has broad authority over the operation and enforcement of the immigration

 10   laws. Defendant Noem is sued in her official capacity.

 11            12.   Defendant Todd Lyons is the Acting Director of ICE and has

 12   authority over the operations of ICE. In that capacity and through his agents,

 13   Defendant Lyons has broad authority over the operation and enforcement of the

 14   immigration laws. Defendant Lyons is sued in his official capacity. ICE is

 15   responsible for the termination of Student Doe #2      ’s SEVIS record.

 16                                  LEGAL FRAMEWORK

 17            13.   A nonimmigrant visa controls a noncitizen’s admission into the

 18   United States, not their continued stay. Congress established a statutory basis for

 19   student visas under 8 U.S.C.§ 1101(a)(15)(F)(i), requiring that a noncitizen engage

 20

 21
      2
          Plaintiff will separately file a motion to proceed pseudonymously.
 22                                               4
Case 2:25-cv-02993-SPG-SSC        Document 1     Filed 04/06/25   Page 7 of 17 Page ID
                                        #:7


  1   in a full course of study to maintain nonimmigrant status. Once admitted in F-1

  2   status, a student is granted permission to remain in the United States for the

  3   duration of status (D/S) as long as they continue to meet the requirements

  4   established by the regulations governing their visa classification in 8 C.F.R. §

  5   214.2(f), such as maintaining a full course of study and avoiding unauthorized

  6   employment.

  7             14.   The SEVIS is a centralized database maintained by the SEVP within

  8   ICE used to manage information on nonimmigrant students and exchange visitors

  9   and track their compliance with terms of their status. Under 8 C.F.R. § 214.3(g)(2),

 10   Designated School Officials (DSOs) must report through SEVIS to SEVP when a

 11   student fails to maintain status. SEVIS termination is governed by SEVP policy

 12   and regulations. Termination must be based on a student’s failure to maintain

 13   status.

 14             15.   DHS regulations distinguish between two separate ways a student

 15   may fall out of status: (1) a student who “fails to maintain status,” and (2) an

 16   agency-initiated “termination of status.”

 17             16.   The first category, failure to maintain status, involves circumstances

 18   where a student voluntarily or inadvertently falls out of compliance with the F-1

 19   visa requirements, for example by failing to maintain a full course of study,

 20   engaging in unauthorized employment, or other violations of their status

 21   requirements under 8 C.F.R. § 214.2(f). In addition, 8 C.F.R. §§ 214.1(e)–(g)

 22                                                5
Case 2:25-cv-02993-SPG-SSC      Document 1     Filed 04/06/25    Page 8 of 17 Page ID
                                      #:8


  1   outlines specific circumstances where certain conduct by any nonimmigrant visa

  2   holder, such as engaging in unauthorized employment, providing false information

  3   to DHS, or being convicted of a crime of violence with a potential sentence of

  4   more than a year, “constitutes a failure to maintain status.”

  5         17.    With the respect to the crime of violence category, 8 C.F.R. §

  6   214.1(g) sets forth that a nonimmigrant’s conviction “for a crime of violence for

  7   which a sentence of more than one year imprisonment may be imposed (regardless

  8   of whether such sentence is in fact imposed) constitutes a failure to maintain status

  9   . . . .” Minor misdemeanor offenses do not meet this threshold for termination

 10   based on criminal history.

 11         18.    The second category, termination of status by DHS, can occur only

 12   under the limited circumstances set forth in 8 C.F.R. § 214.1(d), which only

 13   permits DHS to terminate status when: (1) a previously granted waiver under INA

 14   § 212(d)(3) or (4) [ 8 U.S.C. § 1182(d)(3) or (4)] is revoked; (2) a private bill to

 15   confer lawful permanent residence is introduced in Congress; or (3) DHS publishes

 16   a notification in the Federal Register identifying national security, diplomatic, or

 17   public safety reasons for termination. DHS cannot otherwise unilaterally terminate

 18   nonimmigrant status.3

 19         19.    Accordingly, the revocation of a visa does not constitute failure to

 20

 21
      3
       See Jie Fang v. Dir. United States Immigr. & Customs Enf't, 935 F.3d 172, 185 n.
      100 (3d Cir. 2019).
 22                                              6
Case 2:25-cv-02993-SPG-SSC        Document 1     Filed 04/06/25   Page 9 of 17 Page ID
                                        #:9


  1   maintain status and cannot therefore be a basis for SEVIS termination.4 If a visa is

  2   revoked prior to the student’s arrival to the United States, then a student may not

  3   enter and the SEVIS record is terminated. However, the SEVIS record may not be

  4   terminated as a result of a visa revocation after a student has been admitted into the

  5   United States, because the student is permitted to continue the authorized course of

  6   study.5

  7             20.   ICE’s own guidance confirms that “[v]isa revocation is not, in itself, a

  8   cause for termination of the student’s SEVIS record.”6 Rather, if the visa is

  9   revoked, the student is permitted to pursue their course of study in school, but upon

 10   departure, the SEVIS record is terminated and the student must obtain a new visa

 11   from a consulate or embassy abroad before returning to the United States.7

 12             21.   While a visa revocation can be charged as a ground of deportability in

 13

 14   4
        The Foreign Affairs Manual provides that a visa may be revoked based on a DUI.
      Arrest or conviction. 9 FAM 403.11-3(A) (U) When You May Revoke Visas.
 15   However, a revocation is not authorized where the arrest has “already been
      addressed within the context of a visa application, i.e., the individual has been
 16   through the panel physician's assessment due to the arrest.” 9 FAM 403.11-5(B)
      (U).
 17
      5
       ICE Policy Guidance 1004-04 –Visa Revocations (June 7, 2010), available at
 18   https://www.ice.gov/doclib/sevis/pdf/visa_revocations_1004_04.pdf

 19   6
          Id.

 20   7
       Guidance Directive 2016-03, 9 FAM 403.11-3 – VISA REVOCATION (Sept. 12,
      2016), available at https://www.aila.org/library/dos-guidance-directive-2016-03-on-
 21   visa-revocation.

 22                                                7
Case 2:25-cv-02993-SPG-SSC        Document 1 Filed 04/06/25       Page 10 of 17 Page ID
                                        #:10


  1    removal proceedings, deportability can be contested in such proceedings.8 The

  2    immigration judge may also even dismiss removal proceedings where a visa is

  3    revoked, so long as a student is able to remain in valid status.9 Only when a final

  4    removal order is entered would status be lost.

  5             22.   A student who has not violated their F-1 status, even if their visa is

  6    revoked, cannot have a SEVIS record terminated based on INA § 237(a)(1)(C)(i)

  7    [8 U.S.C. § 1227(a)(1)(C)(i)] (failure to maintain status), INA §237(a)(4)(C)(i) [8

  8    U.S.C. § 1227(a)(4)(C)(i)] (foreign policy grounds), or any deportability ground

  9    for that matter.

 10             23.   The immigration courts have no ability to review the SEVIS

 11    termination here because the process is collateral to removal.10 There is also no

 12    administrative appeal of a denial to reinstate F-1 status. The termination of a

 13    SEVIS record constitutes final agency action for purposes of APA review.11

 14                                 FACTUAL ALLEGATIONS

 15             24.   Plaintiff Student Doe #2 is an international student attending college

 16

 17
       8
        See 8 USC § 1227(a)(1)(B); 8 U.S.C. § 1201(i) (allowing immigration court
       review of visa revocation).
 18
       9
           8 C.F.R. § 1003.18(d)(ii)(B).
 19
       10
         See Nakka v. United States Citizenship & Immigr. Servs., 111 F.4th 995, 1007
 20    (9th Cir. 2024); Jie Fang v. Dir. United States Immigr. & Customs Enf't, 935 F.3d
       172, 183 (3d Cir. 2019).
 21
       11
            See Fang, 935 F.3d at 185.
 22                                                8
Case 2:25-cv-02993-SPG-SSC       Document 1 Filed 04/06/25        Page 11 of 17 Page ID
                                       #:11


  1    in      Orange County. They are from a predominantly Muslim country.

  2           25.    Plaintiff is focused on their studies and they have not engaged in any

  3    significant political activity.

  4           26.    Plaintiff first came to study in the United States on a student visa

  5    more than five years ago.

  6           27.    Plaintiff was issued a Form I-20 to enroll in college and they have

  7    been engaged in a full course of study.

  8           28.    On March 25, 2025, Plaintiff received notice from their college that

  9    their student visa was revoked and that their SEVIS status was terminated.

 10           29.    The codes given for the termination were:

 11                  • INA 237(a)(1)(C)(i) – Failure to maintain status

 12                  • INA 237(a)(4)(C)(i) – Foreign policy grounds

 13           30.    Plaintiff was informed that the school itself did not terminate their

 14    SEVIS status.

 15           31.    Plaintiff is unaware of the factual basis for the termination of their

 16    SEVIS status.

 17           32.    Plaintiff’s only criminal history is a minor speeding ticket and a

 18    misdemeanor alcohol related driving conviction. The dispositions are not for a

 19    crime of violence, nor did they carry a potential sentence of more than one year.

 20           33.    The U.S. Consulate abroad was aware of Plaintiff’s alcohol related

 21    offense and required a clearance before the issuance of Plaintiff’s last student visa.

 22                                                9
Case 2:25-cv-02993-SPG-SSC        Document 1 Filed 04/06/25       Page 12 of 17 Page ID
                                        #:12


  1    Plaintiff was cleared and was granted a student visa by the Department of State

  2    which had full knowledge of Plaintiff’s offense.

  3          34.      DHS has not initiated removal proceedings against Plaintiff.

  4          35.      Plaintiff is highly valued by their college, which desires for them to

  5    continue to be enrolled in school. However, Plaintiff’s ability to do so is in

  6    jeopardy due to the termination of their SEVIS record and status.

  7          36.      Since they received notice of their SEVIS termination, Plaintiff has

  8    been experiencing high levels of stress and anxiety. They are unsure of what will

  9    happen to them. They also fear being labeled a national security or foreign policy

 10    threat if they seek to return to the United States in the future, or if they seek to

 11    travel to another country, because of the labels attached to their SEVIS

 12    termination.

 13          37.      The SEVIS terminations have created havoc and uncertainty for

 14    schools as well. Upon information and belief, Plaintiff’s college was not given any

 15    advanced warning or further explanation for the termination of Plaintiff’s SEVIS

 16    status. Schools are scrambling to respond to these unprecedented actions and

 17    determine whether and how they can help their international students.12

 18

 19

 20
       12
         See Liam Knox, How Trump is Wreaking Havoc on the Student Visa System,
       Inside Higher Ed, April 5, 2024,
 21    https://www.insidehighered.com/news/global/international-students-
       us/2025/04/03/how-trump-wreaking-havoc-student-visa-system.
 22                                                10
Case 2:25-cv-02993-SPG-SSC       Document 1 Filed 04/06/25         Page 13 of 17 Page ID
                                       #:13


  1           38.    Intervention by the Court is necessary to remedy Defendants’ illegal

  2    conduct.

  3                                    CAUSES OF ACTION

  4                                FIRST CAUSE OF ACTION

  5                               Administrative Procedure Act
                                 (Unauthorized SEVIS Termination)
  6
              39.    Plaintiff incorporates the allegations in the paragraphs above as though
  7
       fully set forth here.
  8
              40.    Under § 706(a) of the APA, final agency action can be set aside if it is
  9
       “arbitrary, capricious, an abuse of discretion, or otherwise not in accordance with
 10
       law . . . in excess of statutory jurisdiction, authority, or limitations, or short of
 11
       statutory right; . . . [or] without observance of procedure required by law.” 5
 12
       U.S.C. § 706(2)(A), (C)-(D).
 13
              41.    Defendants have no statutory or regulatory authority to terminate
 14
       Plaintiff’s SEVIS record or status based simply on revocation of a visa.
 15
       Additionally, nothing in Plaintiff’s criminal history or other history provides a
 16
       basis for termination.
 17
              42.    Therefore, Defendant’s termination of Plaintiff’s SEVIS status is not
 18
       in accordance with law, in excess of statutory authority, and without observance of
 19
       procedure required by law.
 20

 21

 22                                                11
Case 2:25-cv-02993-SPG-SSC      Document 1 Filed 04/06/25        Page 14 of 17 Page ID
                                      #:14


  1                              SECOND CAUSE OF ACTION

  2                                     Fifth Amendment
                                     (Procedural Due Process)
  3
              43.    Plaintiff incorporates the allegations in the paragraphs above as though
  4
       fully set forth here.
  5
              44.    Procedural due process requires that the government be constrained
  6
       before it acts in a way that deprives individuals of property interests protected
  7
       under the Due Process Clause of the Fifth Amendment.
  8
              45.    Once a student is lawfully admitted to the United States in F-1 status
  9
       and complies with the regulatory requirements of that status, the continued
 10
       registration of that student in SEVIS is governed by specific and mandatory
 11
       regulations. Because these regulations impose mandatory constraints on agency
 12
       action and because SEVIS registration is necessary for a student to remain enrolled
 13
       as an international student, Plaintiff has a constitutionally protected property
 14
       interest in their SEVIS registration. See ASSE Int'l, Inc. v. Kerry, 803 F.3d 1059
 15
       (9th Cir. 2015)(recognizing protected property interest in participating in exchange
 16
       visitor program); Brown v. Holder, 763 F.3d 1141, 1148 (9th Cir. 2014)
 17
       (recognizing protected property interest in nondiscretionary application for
 18
       naturalization).
 19
              46.    Defendants terminated Plaintiff’s SEVIS record based on improper
 20
       grounds without prior notice and without providing Plaintiff an opportunity to
 21

 22                                              12
Case 2:25-cv-02993-SPG-SSC      Document 1 Filed 04/06/25       Page 15 of 17 Page ID
                                      #:15


  1    respond. The failure to provide notice of the facts that formed the basis for the

  2    SEVIS termination is a violation of due process under the Fifth Amendment.

  3                               THIRD CAUSE OF ACTION

  4                               Administrative Procedure Act
                                    (Procedural Due Process)
  5
              47.    Plaintiff incorporates the allegations in the paragraphs above as though
  6
       fully set forth here.
  7
              48.    Under § 706(a) of the APA, final agency action can be set aside if it is
  8
       “contrary to a constitutional right, power, privilege, or immunity.” 5 U.S.C. §
  9
       706(2)(B).
 10
              49.    Defendants terminated Plaintiff’s SEVIS record based on improper
 11
       grounds without prior notice and without providing Plaintiff an opportunity to
 12
       respond. The failure to provide notice of the facts that formed the basis for the
 13
       SEVIS termination is a violation of due process under the Fifth Amendment.
 14
              50.    Accordingly, Defendants’ action is contrary to a constitutional right.
 15
                                 FOURTH CAUSE OF ACTION
 16
                                  Administrative Procedure Act
 17                        (Arbitrary and Capricious SEVIS Termination)

 18           51.    Plaintiff incorporates the allegations in the paragraphs above as though

 19    fully set forth here.

 20           52.    Under § 706(a) of the APA, final agency action can be set aside if it is

 21    “arbitrary, capricious, an abuse of discretion, or otherwise not in accordance with

 22                                              13
Case 2:25-cv-02993-SPG-SSC      Document 1 Filed 04/06/25       Page 16 of 17 Page ID
                                      #:16


  1    law,” including if it fails to make a rational connection between the facts found and

  2    the decision made. 5 U.S.C. § 706(2)(A).

  3          53.    Defendants failed to articulate the facts that formed a basis for their

  4    decision to terminate Plaintiff’s SEVIS status in violation of the APA, let alone any

  5    rational connection between the facts found and the decision made.

  6          54.    Defendants’ action is therefore arbitrary and capricious.

  7

  8                                 PRAYER FOR RELIEF

  9          WHEREFORE, Plaintiff prays that this Court grant the following relief:

 10                 (1)   Assume jurisdiction over this matter;

 11                 (2)   Declare that the termination of Plaintiff’s SEVIS status was

 12                       unlawful;

 13                 (3)   Vacate and set aside DHS’s termination of Plaintiff’s SEVIS

 14                       status;

 15                 (4)   Order that Defendants restore Plaintiff’s SEVIS record and

 16                       status;

 17                 (5)   Award costs and reasonable attorney fees under the Equal

 18                       Access to Justice Act, 28 U.S.C. § 2412(b); and

 19                 (6)   Grant such further relief as the Court deems just and
                          proper.
 20

 21

 22                                              14
Case 2:25-cv-02993-SPG-SSC    Document 1 Filed 04/06/25       Page 17 of 17 Page ID
                                    #:17


  1    Dated: April 6, 2025               Respectfully Submitted,

  2
                                          /s/ Stacy Tolchin
  3                                       Email:
                                          Stacy@Tolchinimmigration.com
  4                                       Law Offices of Stacy Tolchin
                                          776 E. Green St., Suite 210
  5                                       Pasadena, CA 91101
                                          Telephone: (213) 622-7450
  6                                       Facsimile: (213) 622-7233
  7                                       Khaled Alrabe (CA SBN #349899)
                                          Email: khaled@nipnlg.org
  8                                       National Immigration Project of the
                                          National Lawyers Guild (NIPNLG)
  9                                       1763 Columbia Road NW,
                                          Suite 175 #896645,
 10                                       Washington, DC 20007
                                          Telephone: (202) 470-2082
 11                                       Facsimile: (617) 227-5495
 12                                       Anne Lai (CA SBN #295394)
                                          Email: alai@law.uci.edu
 13                                       UC Irvine School of Law
                                          401 E. Peltason Dr.
 14                                       Irvine, CA 92697-8000
                                          Telephone: (949) 824-9894
 15                                       Facsimile: (949) 824-2747
 16

 17

 18

 19

 20

 21

 22                                         15
